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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JUAN IGARTUA, on behalf of himself and all
 others similarly situated,
                                  Plaintiff,
                                                                         24-CV-7085 (AS)
                      -against-
                                                                     NOTICE OF INITIAL
 THE FLOWERY LLC,                                                  PRETRIAL CONFERENCE
                                  Defendant.



ARUN SUBRAMANIAN, United States District Judge:
        Unless and until the Court orders otherwise, counsel for all parties shall appear for an initial
pretrial conference with the Court on December 18, 2024 at 1:00 PM. The parties should dial in
by calling (646) 453-4442 and entering the Phone Conference ID: 247 513 875, followed by the
pound (#) sign. Absent leave of Court obtained by letter-motion filed before the conference, all
pretrial conferences must be attended by the attorney who will serve as Lead Trial Counsel.

        All counsel must familiarize themselves with the Court’s Individual Practices, which
are available at https://nysd.uscourts.gov/hon-arun-subramanian. All parties are required to
register promptly as filing users on ECF.

       Defendant is permitted to take one deposition of Plaintiff on the issue of standing, not
to exceed three hours, within 30 days of service.

        Counsel are directed to confer with each other prior to the conference regarding settlement
and each of the other subjects to be considered at a Federal Rule of Civil Procedure 16 conference.
Additionally, in accordance with Paragraph 4.D of the Court’s Individual Practices, the parties are
hereby ORDERED to file on ECF a joint letter, described below, as well as a proposed Civil Case
Management Plan and Scheduling Order attached as an exhibit to the joint letter, no later than
Wednesday of the week prior to the conference date. The parties shall use this Court’s form
Proposed Civil Case Management Plan and Scheduling Order, which is also available at
https://nysd.uscourts.gov/hon-arun-subramanian. Any open legal issues can be addressed at
the conference.

        The joint letter shall not exceed three (3) pages, and shall provide the following information
in separate paragraphs:

       (1)     A brief statement of the nature of the action and the principal defenses, and the
               major legal and factual issues that are most important to resolving the case, whether
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               by trial, settlement or dispositive motion;

       (2)     A brief explanation of why jurisdiction and venue lie in this Court.

       (3)     A statement of all existing deadlines, due dates, and/or cut-off dates;

       (4)     A brief description of any outstanding motions;

       (5)     A brief description of any discovery that has already taken place and of any
               discovery that is necessary for the parties to engage in meaningful settlement
               negotiations;

       (6)     A brief description of the status of prior settlement discussions, without disclosing
               exact offers and demands;

       (7)     A statement confirming that the parties have discussed the use of alternate dispute
               resolution mechanisms and indicating whether the parties believe that (a) a
               settlement conference before a Magistrate Judge; (b) participation in the District’s
               Mediation Program; and/or (c) retention of a privately retained mediator would be
               appropriate and, if so, when in the case (e.g., within the next sixty days; after the
               deposition of plaintiff is completed; after the close of fact discovery; etc.) the use
               of such a mechanism would be appropriate; and

       (8)     Any other information that the parties believe may assist the Court in advancing
               the case to settlement or trial, including, but not limited to, a description of any
               dispositive issue or novel issue raised by the case.

       If this case has been settled or otherwise terminated, counsel are not required to submit
such a letter or to appear, provided that a stipulation of discontinuance, voluntary dismissal, or
other proof of termination is filed on the docket prior to the date of the conference, using the
appropriate ECF Filing Event. See SDNY ECF Rules & Instructions §§ 13.17-13.19 & App’x A,
available at https://www.nysd.uscourts.gov/electronic-case-filing.

        In accordance with the Court’s Individual Practices, requests for an extension or
adjournment may be made only by letter-motion filed on ECF and must be received at least 48
hours before the deadline or conference. The written submission must state (1) the original date(s);
(2) the number of previous requests for adjournment or extension; (3) whether these previous
requests were granted or denied; (4) whether the adversary consents and, if not, the reasons given
by the adversary for refusing to consent; and (5) the date of the parties’ next scheduled appearance
before the Court. Unless counsel are notified that the conference has been adjourned, it will be
held as scheduled.




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         Counsel who have entered a notice of appearance as of the issuance of this order are
directed (1) to notify counsel for all other parties in this action who have not yet appeared by
serving upon each of them a copy of this order and the Court’s Individual Practices forthwith, and
(2) to file proof of such notice with the Court. If unaware of the identity of counsel for any of the
parties, counsel receiving this order must forthwith send a copy of this order and the Court’s
Individual Practices to that party personally.

       SO ORDERED.

Dated: September 20, 2024
       New York, New York



                                                                 ARUN SUBRAMANIAN
                                                                 United States District Judge




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